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                       Exhibit 1
                                to
             Memorandum of United States in Opposition
               To Dey Defendants' Motion in Limine
             To Exclude Opinions of Mark Duggan, Ph.D
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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
 In re: PHARMACEUTICAL                       )
 INDUSTRY AVERAGE WHOLESALE                  )
 PRICE LITIGATION                            )   MDL No. 1456
                                             )   Master Case No. 01-12257-PBS
                                             )
 THIS DOCUMENT RELATES TO:                   )   Subcategory Case No. 06-11337-PBS
                                             )
 United States of America ex rel. Ven-a-     )
 Care of the Florida Keys, Inc., et al. v.   )
 Dey, Inc., et al., Civil Action No. 05-     )
 11084-PBS                                   )

                DECLARATION OF MARK G. DUGGAN, Ph.D
                 IN SUPPORT OF MOTION TO EXCLUDE
            CERTAIN TESTIMONY OF W. DAVID BRADFORD, Ph.D

       I, Mark G. Duggan, hereby declare as follows:

       1.     I am a Professor in the Department of Economics at the University of

Maryland, College Park, Maryland. I am presently on leave to work on national health

care policy as the Senior Economist for health care on the White House Council of

Economic Advisers. My qualifications have previously been stated in my Declaration of

Mark G. Duggan, Ph.D., In Support of the United States' Motion for Partial Summary

Judgment and in Opposition to Defendants' Motions for Partial Summary Judgment.1

       2.     On April 23, 2009, I provided a Rebuttal Report of Mark G. Duggan, Ph.D,

in which I responded to various arguments set forth in the Expert Report of Professor W.



       1
        This document is Exhibit 41 to the Declaration of George B. Henderson, II
Submitting Common Exhibits in Support of Motions for Partial Summary Judgment
(Master Dkt #6310-53, Subcategory #308-53).
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                   Attachment A
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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                )
 AVERAGE WHOLESALE PRICE                       )
 LITIGATION                                    )    MDL No. 1456
                                               )    Civil Action No. 01-12257-PBS
                                               )
 THIS DOCUMENT RELATES TO:                     )    Hon. Patti B. Saris
                                               )
 United States of America, ex rel. Ven-a-      )
 Care of the Florida Keys, Inc. v. Dey,        )
 Inc.,et al.                                   )
 CIVIL ACTION NO. 05-11084-PBS                 )




                 REBUTTAL REPORT OF MARK G. DUGGAN, PH.D.




Mark G. Duggan, Ph.D. Rebuttal Report – April 23, 2009                              1
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Introduction

           In this document I respond to the primary criticisms in Dr. Bradford’s report of my

January 23, 2009 report, which calculated the difference between what the federal government

reimbursed for certain pharmaceutical products provided to Medicaid and Medicare recipients

during the 1992 to 2008Q1 period and what the federal government would have reimbursed for

the same products during the same period if prices reflective of the actual prices at which Dey

L.P. (hereafter Dey) was transacting business had been used for the AWP and WAC of Dey

Complaint products.



Holding All Else Equal

           One of Dr. Bradford’s criticisms of the analysis in my Dey report is that I hold other

factors constant when determining the amount that the federal government would have paid if

alternative AWPs and WACs had been used for Dey’s products when adjudicating claims for the

Medicare and Medicaid programs.1 When estimating the causal effect of one variable on some

other variable, it is common practice in applied microeconomics to hold other factors constant

and to focus on the direct rather than the indirect effects. For example, in my own previous

research on Medicaid managed care that was published in the Journal of Public Economics

(2004), I estimated the effect on Medicaid expenditures of shifting Medicaid recipients from fee-

for-service into managed care while holding other factors constant. To do this, I utilized

Medicaid claims and enrollment data to compare spending for the same person before and after

they were shifted into Medicaid managed care, and estimated the extent to which average

spending changed as a result.



1
    See, for example, Bradford report page 123; see also report of Lauren J. Stiroh, pages 43-44.


Mark G. Duggan, Ph.D. Rebuttal Report – April 23, 2009                                              2
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         It is indeed possible that the shift from fee-for-service into managed care might have

affected enrollment in the program, as some individuals might have decided to enroll in

Medicaid or disenroll from Medicaid at different times as a result. This would of course induce a

change in Medicaid spending that would not be captured by the analysis described above.

Similarly, the state may have elected to change hospital or physician reimbursement if it had not

move to Medicaid managed care. However, in this study and in many similar studies by myself

and others specializing in applied microeconomic research, I held these other factors, which

represented two of the many possible indirect effects of the policy change, constant.2

         Of course the details of my 2004 study differ in certain respects from the application

considered in my report. But once one opens up the possibility of indirect effects, as Dr.

Bradford does in his own report, it is important to remember that many of the most plausible

indirect effects would increase rather than reduce the damages summarized in my report.

Additionally, estimates of the magnitude of each one of these indirect effects will in many cases

be driven by the researcher’s often untestable assumptions and his/her subjective judgments

about which factors to allow to change. For example, would pharmacies have reduced their

purchases of Complaint products in response to the more truthful AWPs, and if so by how much?

Would the more truthful reporting by Dey have caused its competitors to report more truthful

prices? Would state Medicaid agencies have raised their dispensing fees in response to lower

AWPs for 26 out of the 25,000 or so NDCs covered? By how much would they have raised these

dispensing fees? How much would the federal government’s FUL prices or state governments’


2
  Other examples of studies that aim to isolate the causal effect of one variable on one or more other variables by
holding other factors constant abound in economics. See, for example, Evans and Snyder (2006) regarding the effect
of income on mortality, Levitt (1997) for the effect of police on crime rates, Gruber and Poterba (1994) for the effect
of tax incentives on health insurance coverage, Angrist and Evans (1998) for the effect of the number of children on
maternal labor supply, and Card and Krueger (1994) for the effect of the minimum wage on employment. In these
studies and many related ones, the authors focus on the direct effect of the variable of interest rather than the many
possible indirect effects.


Mark G. Duggan, Ph.D. Rebuttal Report – April 23, 2009                                                               3
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MAC prices have changed as a result of the alternative AWPs and WACs?3 Would these lower

AWPs and WACs have caused the federal government and state governments to implement their

FUL and MAC prices sooner? Would Medicare utilization have increased because of the lower

consumer co-pay on J-code products, and if so by how much?

           All of these factors and many more become potentially relevant once one opens up the

possibility that more truthful price reporting by Dey would have had indirect effects. The direct

effects that I consider in my report, which hold other factors constant, are based on claims that

were actually paid by the Medicaid and Medicare programs, and demonstrate a significant effect

on federal expenditures, state expenditures, and out-of-pocket costs for Medicare recipients.



Medicaid Utilization

           Dr. Bradford argues (on pages 50-51 of his report) that if Dey had reported prices that

were more reflective of actual transaction prices for Complaint products, pharmacies would not

have purchased Dey’s products because it would not have been profitable for them to do so.

However, Dr. Bradford does not offer credible empirical evidence to support the claim that this

would have a material impact on my findings. And indeed if this were true, then it would serve

to increase rather than reduce the total value of DIFFERENCE, because the federal government

would not have paid anything for those claims because they would not have been submitted.

           Furthermore, if one were to consider the effect that alternative AWPs for Dey’s

Complaint products would have had on utilization for these products, it is instructive to consider

a real-world example that to some extent mimics the AWP changes that I consider in my report.

In 2000 and 2001, substantially lower AWPs were implemented for Abbott Complaint products

described in my June 19, 2008 Abbott report. For example, the AWP for Abbott’s Vancomycin
3
    In some instances, one might consider this a direct effect, but I do not examine this issue in my analysis.


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653301 product fell by 77 percent, from $76.43 to $17.73, while similarly large AWP declines

occurred for Abbott’s other Complaint products, and there were no corresponding changes in

dispensing fees. In the subsequent three years, little change was observed in the use of these

same Abbott products. For example, the total number of prescriptions for Abbott’s Complaint

products actually increased by 5 percent from the fourth quarter of 1999 until the fourth quarter

of 2003.4 Thus even with this massive change in AWPs, there was not a correspondingly

significant change in the utilization of these products, thus undermining the claim that utilization

of Dey’s Complaint products would have plummeted if they had reported more truthful AWPs.



Medicaid Dispensing Fees

         A related point that Dr. Bradford makes on pages 52-59 of his report is that, if Dey had

reported more truthful AWPs for Complaint products, the state Medicaid agencies would have

adjusted their dispensing fees to offset the reduction in pharmacies’ ingredient cost profits. Once

again, Dr. Bradford offers little credible evidence to support this claim. In considering the

validity of this point, it is important to note that Dey’s Complaint products accounted for less

than 0.3 percent of Medicaid prescription drug spending in every year considered. Thus the

effect on pharmacies’ overall reimbursement would have been very small, undermining the claim

that this would have necessitated across-the-board increases in pharmacy’s dispensing fees.



4
  An examination of the utilization data does suggest a modest effect of the revised prices on utilization. More
specifically, from 1999Q4 to 2000Q4, the number of prescriptions for Abbott’s Complaint products increased from
94,777 to 105,034 after having risen steadily in the preceding years along with Abbott’s AWPs. By 2003Q4, this
had declined to 99,476, suggesting that the lower ingredient cost reimbursement did lead to a modest reduction in
utilization of Abbott products below what it otherwise would have been. It is also worth noting that there may be a
stronger response by pharmacies to changes in published AWPs when they are increasing than when they are
declining, as once they have paid the fixed cost to establish a contract with Abbott they might stick with it. Indeed,
asymmetric price responses have been reported for other sectors, such as the practice of retail gas outlets to raise
prices more quickly in response to increases in the price of crude oil than to lower them when crude oil prices
decline (Borenstein, Cameron, and Gilbert, 1997), which has been dubbed the “rockets and feathers” phenomenon.


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         It is once again instructive to consider the Abbott example cited above when considering

this issue. An examination of the state-specific dispensing fees indicates that there was not a

large increase after the change in Abbott and other firms’ AWPs that occurred in 2000 and 2001

when states implemented the DOJ prices. More specifically, there were 33 states (excluding

Ohio) that used the DOJ prices, with 19 holding their dispensing fees fixed at that time, 5

reducing their dispensing fees, and 9 increasing their dispensing fees. Among the fourteen that

changed dispensing fees5, the average change was actually less than zero (-$0.14), as the

dispensing fee reductions for the 5 that reduced more than offset the effect of the 9 that

increased. Additionally, this coincided with substantial price changes for hundreds more

products with much greater Medicaid spending than is considered in my report.

         Dr. Bradford however implies that one must instead consider an across the board change

in price reporting for all of the approximately 25,000 pharmaceutical products currently being

reimbursed by the Medicaid program when evaluating the appropriateness of the transaction-

based AWPs for the 26 Complaint NDCs described in my report.6 Of course, this would require

knowledge of the spread between AWPs and actual transaction prices for all 25,000 of these

products. And this would include not only generic products but also brand products, for which

my previous research with Dr. Scott Morton in the Quarterly Journal of Economics (2006) on

Medicaid drug reimbursement suggests that Medicaid’s average AWP-based reimbursement

amounts per prescription are a quite reliable guide to actual average prices. Given that brand

products account for more than 80 percent of Medicaid drug spending, if one were to scale actual

average prices by 1.25 for all pharmaceutical products’ AWPs, it seems plausible that

pharmacies would on average have higher ingredient cost reimbursement overall. Put simply, the

5
  It is worth noting that the timing of the dispensing fee change and the implementation of DOJ prices did not in all
cases line up exactly, though I restrict to changes that occurred in 2000 and 2001.
6
  See also Stiroh report, page 44.


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spreads that existed for Dey’s Complaint products are unlikely to be representative of the spread

for all pharmaceutical products.

        In evaluating the merit of Dr. Bradford’s claim, it is also instructive to consider the

increase in the use of MAC and FUL prices by state Medicaid programs during the past decade.

An examination of dispensing fees during the same time period provides no evidence to suggest

that there was a sea change in dispensing fees that accompanied the reduction in ingredient cost

reimbursement for generic products. In just five out of twenty-three cases when a state

implemented a MAC program during the time period of interest did it also increase its dispensing

fee around the same time, with an additional two states lowering their dispensing fee.7 The

average change in the dispensing fees among these twenty-three states was just nine cents, thus

undermining the theory that significant changes in dispensing fees would have occurred if Dey

had reported more accurate prices for its AWPs and WACs.

        Additionally, it is very likely that the use of the alternative AWPs that I describe in my

report would have substantially lowered the state MAC prices and/or the federal FUL prices in a

similar fashion to the effect of more truthful AWPs on Medicare reimbursement. This would

reduce reimbursement not only for Dey’s products but for some of its competitors’ products in

the same drug group as well. As I mention in my report, this would almost certainly have led to a

substantial increase in the total value of DIFFERENCE. However, Dr. Bradford omits any

discussion of this plausible effect in his report.




7
 It is once again worth noting that the timing of the dispensing fee change and the implementation of SMAC prices
did not in all cases line up exactly.


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Many Plausible Indirect Effects Raise Rather than Reduce DIFFERENCE

       In pointing to the possible indirect effects of the alternative AWPs that I calculate from

Dey’s transaction data, which are just 25 percent greater than actual average pharmacy prices

rather than the 500 percent or 1000 percent greater as were those reported by Dey, Dr. Bradford

points only to those indirect effects that would lower the total value of DIFFERENCE in my

report, such as the increase in Medicaid dispensing fees. But as noted above, Dr. Bradford offers

no empirical evidence to support his theory that utilization would have plummeted or that

dispensing fees would have surged in response to more accurate published prices for Complaint

products. Dr. Bradford also omits any consideration of those indirect effects that would lead to

an increase in the value of DIFFERENCE, thus essentially cherry picking those indirect effects

that go in the direction that is favorable to Dey.



An Analogy to Medicaid Hospital Reimbursement

       In considering the criticism of the “all else equal” assumption that I make in my report, it

is useful to consider an analogy. Suppose that a hospital could not profitably serve Medicaid

patients at a state’s current reimbursement rates. It could then contact the state Medicaid agency

and relay this concern to government officials, with this possibly leading to an increase in

hospital reimbursement. Or it could choose to serve these Medicaid patients even though it

would be unprofitable for them to do so, recognizing that Medicaid patients are on average

unprofitable for hospitals, nursing homes, physicians, and many other health care providers as

well (Gruber, 2003). Or it could simply decide not to serve the Medicaid population.

Alternatively, the hospital could decide to go an entirely different route by “upcoding” the

Medicaid patients’ diagnoses to more serious ones (thus boosting its revenues) or by reporting




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more services on the Medicaid claims than were actually performed. This might be motivated by

a concern for Medicaid patients or simply by a desire to increase hospital profits.

       If this hospital was caught in the act of upcoding or filing false claims, it might then be

called upon to pay damages equal to the difference between the actual amount paid and the

amount that would have been paid if it had not upcoded or submitted false claims. The hospital

might then assert that if it had been truthful, it would not have been able to serve Medicaid

patients, and thus utilization at this hospital would have been zero. Using Dey’s argument, this

would imply no damage to the government, as these patients would simply have been treated

elsewhere and Medicaid revenues at the hospital would have been zero. Or this hospital might

argue that if it had been truthful, it would have advocated strongly for higher reimbursement

from the state Medicaid agency to make it more profitable for them to treat these patients. Using

Dey’s reasoning, the savings one would then estimate using the proper diagnoses (rather than the

upcoded ones) or the correct number of claims for Medicaid patients would be misleading. But

this is indeed extremely speculative, as it is unclear that such a reimbursement change would

have occurred and the magnitude of this change would be impossible to estimate with any

precision, as it would reflect the outcome of a negotiation between the hospital and the state

Medicaid agency.

       Unfortunately for this hospital and by analogy for Dey, none of these arguments change

the fact that they could have been truthful (or less misleading) but elected not to be. The

available evidence suggests that Dey aimed to use these extremely inaccurate and inflated AWPs

to its financial advantage in an effort to improve the company’s market position and thus its

revenues. I am unaware of any evidence that Dey inflated its published prices out of a concern

about access for Medicaid recipients. And even if one assumes that the hospital in my analogy




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or Dey in this case had altruistic motives to ensure access for Medicaid recipients, it does not

appear to justify providing extremely inaccurate information to the government.



Applying the Massachusetts Medicaid Algorithm to All States and to Medicare

       Dr. Bradford further argues that each state Medicaid agency had some latitude to choose

its adjudication algorithm. He then points to the fact (on pages 181-182) that Massachusetts used

WAC for its reimbursement whereas most other states did not. As I demonstrate in my report, the

ratio of DIFFERENCE to total Medicaid spending in Massachusetts is much lower than in other

states given that Dey’s WACs are on average less inflated above actual prices than were its

AWPs. Dr. Bradford states that every state could have used the Massachusetts algorithm, and

then uses this same algorithm (rather than the one that each state was actually using) when

calculating the effect of alternative WACs on each state’s Medicaid reimbursement for Dey’s

Complaint products (Bradford report at pages 133-135).

       The value of DIFFERENCE with even this one adjustment would inevitably be much

lower in each state, but this assumption is clearly inappropriate. State governments had the

adjudication algorithms that they did, with most relying primarily on AWPs rather than WACs,

and thus Dey’s extremely inflated AWPs led to substantial damage to the federal government

and to individual state governments. Indeed by Dr. Bradford’s line of reasoning, if one state

implemented a MAC that was less than Dey’s transaction-based AWPs (125 percent of the

average pharmacy indirect price), then the value of DIFFERENCE for this product would be

zero in all states, because clearly other states could have made this same decision as well.

       Dr. Bradford then uses this same line of reasoning for Medicare, which he argues could

have used WAC prices rather than AWPs in the J-code arrays when determining the per-unit




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allowed amounts. He then assumes this in his own empirical analyses, which for the reasons

mentioned above, is clearly inappropriate. Medicare used pharmaceutical products’ AWPs when

calculating allowed amounts for J-code claims, and Dey’s decision to provide extremely

inaccurate information for its AWPs led to significant damage to the government.



Consideration of Cardinal Wholesaler Data

       Dr. Bradford also criticizes my use of Dey’s indirect data, which captures sales by

wholesalers to pharmacies and other health care providers that have contracts with Dey. He

argues that, given that these wholesalers make some sales off-contract, the average prices and

other price statistics that I calculate are inaccurate because these transactions would not be

included. He instead advocates the use of data from Cardinal, which according to Table 9 of my

report is the second largest wholesaler in Dey’s indirect data, accounting for 20 percent of sales.

       One limitation of this data is that it represents sales by just one wholesaler, and thus what

the calculation gains in capturing off-contract sales it could plausibly lose by happening to be a

high or low-priced wholesaler. Indeed, Dr. Bradford provides little evidence to suggest that

Cardinal’s prices are representative of those at which other wholesalers sold Dey’s Complaint

products. Nevertheless, my examination of this data indicates that the alternative NDC-quarter-

specific AWPs that I utilize, which are equal to 125 percent of the pharmacy-specific indirect

price, are on average substantially greater than the average price at which this one wholesaler

sold Complant products. In other words, the actual average price at which Cardinal sold Dey’s

Complaint products is on average lower than the alternative AWPs that I use in my empirical

analyses, which are equal to 125 percent of the average pharmacy indirect price. This suggests




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that if I had used Cardinal’s average prices in my analyses as the alternative AWPs, my findings

for the total damage to the federal government would have been higher.

       Thus while it is true that prices for off-contract sales are on average somewhat higher

than on-contract sales, there are not sufficiently many of these transactions nor is the price

difference sufficiently large to have an appreciable effect on average wholesaler prices for Dey’s

Complaint products. This is perhaps easiest to see by considering an example. As I explain in

my report, Dey’s 49502069703 Albuterol Sulfate product accounts for more Medicaid sales than

any other Complaint product. The average price for the pharmacy classes of trade in Dey’s

indirect data for this product from 1995Q2 to 2004Q3 was $6.22. Thus the alternative AWP that

I use is on average $7.77, which is 25 percent greater than the actual average price. In

comparison, the actual average price in the Cardinal data for pharmacy retailers was $6.55,

which is substantially lower than the transaction-based AWP that I calculate. Both of these prices

are almost 80 percent lower than the AWP of $30.25 that was in effect for this product during the

same period. A similar pattern is present for the largest Ipratropium Bromide NDC, with an

average price of $11.70 (thus an alternative AWP of $14.63) versus a Cardinal average of

$12.09. These prices are on average approximately 73 percent lower than the AWP of $44 that

was in effect for this product during the same period.

       An additional point worth noting regarding this data is that Dey presumably did not have

access to comprehensive information on wholesalers’ off-contract prices. In light of this, it is not

obvious how these off-contract sales by wholesalers could have affected Dey’s conduct in

reporting its AWPs and WACs.




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Medicare Dispensing Fees

        Dr. Bradford also argues on pages 117-120 that dispensing fees would have increased for

Medicare claims if the alternative AWPs had been used for Dey’s Complaint products. As

evidence for this, he points to the fact that the Medicare Modernization Act (MMA) changed

reimbursement for inhalation products from 95 percent of the median AWP in 2003 to 106

percent of the average sales price (ASP) by 2005, and that CMS subsequently increased the

dispensing fee from $5 to $57 for the first 30-day supply and $33 and $66 for subsequent 30-day

and 90-day supplies, respectively.8

        There are a number of significant problems with this approach, as one must incorporate

other elements of the methodology that changed to accurately capture the effect of the revised

method for determining Medicare allowed amounts. First, one must focus not just on the

pharmacy classes of trade, which tend to have higher prices, when calculating average prices, but

instead consider customers in all classes of trade. Second, one must change the scaling factor for

the transaction-based average prices from 1.25 to 1.06. Third, one must use a dispensing fee that

applies to all prescriptions that cover a 30-day or 90-day supply of inhalation drugs9 instead of

the $5 dispensing fee that was applicable to each prescription. And finally, one must assume that

all firms (not only Dey) would have reported their average sales price accurately. 10 This would

cause the median to fall substantially because all firms’ reported prices would be adjusted. And

then, it would be appropriate to assign responsibility according to each firm’s market share.



8
  As discussed above, Dr. Bradford also assumes that Medicare should have used WACs instead of AWPs, and
assumes that they did this in his analyses. But for the reasons cited above in the Massachusetts example, it is
inappropriate to assume that the law was different than what was in effect.
9
  See 70 Fed. Reg. 70334 (November 21, 2005) (section 414.1001 (c)), and response to comment at 70 Fed. Reg.
70231 (rejecting comment proposing a per prescription fee).
10
   Under the MMA, the allowed amount is based on an average of the ASPs for the NDCs within the J-code. In
changing the dispensing fee, CMS assumed that all pertinent manufacturers would report their ASPs accurately. See
70 Fed. Reg. 47488, 47549 (August 5, 2004).


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         An examination of the Medicare claims data for Ipratropium Bromide indicates that these

adjustments, which would serve to increase the value of DIFFERENCE, would in all likelihood

more than offset the effect of the revised dispensing fee on the total value of DIFFERENCE. To

shed light on this issue, it is useful to consider the following. Prior to the MMA, the average

dispensing fee per claim for Medicare claims for Complaint J-codes was approximately $3.71

during the study period, which was lower than $5 because there were in many cases multiple

claim line items associated with one dispensing fee. For the purposes of this analysis, I assume

that the average claim in this pre-2004 period covered 30 days.

         To estimate the analogous dispensing fee per 30-day period in 2006, I assume that the

average user had twelve 30-day prescriptions during the year, which would yield an average

dispensing fee of $35.11 Of course, Medicare pays just 80 percent of the cost of the typical

claim, and so the effective increase in the share of the per-claim dispensing fee was

approximately $25 (80 percent of the difference between $35 and $4), which is substantially

lower than the average per-claim value of DIFFERENCE in either of the combined Dey and

Roxane scenarios. If one applied this $25 increase to all 12.836 million claims, Medicare

spending would have increased by approximately $321 million.

         Now suppose that 106 percent of Dey’s average sales price for all customers was used for

adjudicating all claims. Ignoring for a moment the dispensing fee issue, this would lead to a

much higher value of DIFFERENCE than is reported for any scenario in Table 35 of my original


11
  There are three sources of uncertainty with this comparison in dispensing fees in the pre-2004 period versus the
post-MMA period. First, it seems plausible that many Medicare recipients would have filled 90-day prescriptions in
the 2006 period, which would lead to a lower average dispensing fee per month during this period. Second, some
users may not have filled the prescription in all twelve months, which would lead to a higher average dispensing fee
in those months with a prescription. And finally, the typical prescription in the pre-2004 period may have been for a
period of less or more than one month. To the extent that the prescriptions were on average less than a month in the
pre-period, the per-month dispensing fee would have been even higher. It should also be noted that Medicare now
pays just one dispensing fee for the applicable period regardless of the number of drugs dispensed. In contrast,
before 2004, the dispensing fee was paid for each prescription.


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report for the reasons outlined above. More specifically, the total value of DIFFERENCE would

be $1.510 billion, as shown in Table A, which is more than $400 million greater than the total

value of DIFFERENCE in the Dey and Roxane combined scenario that does not include

Novaplus. This would more than offset the $321 million caused by the dispensing fee increase

above. If one subtracts the $321 million from the $1.510 billion, the revised DIFFERENCE is

$1.189 billion. Using Dey’s market share of all Ipratropium Bromide Medicaid claims in each

quarter, I calculate that Dey’s share of this revised DIFFERENCE would be $642 million.12 This

is substantially greater than the $340 million Dey share of DIFFERENCE for the combined Dey

and Roxane Novaplus scenario in the February 6, 2009 supplement to my initial Dey report that

uses Dey’s relative market shares and just 19 percent lower than Dey’s $790 million share of the

DIFFERENCE in the combined Dey and Roxane no-Novaplus scenario.13

         One must of course also repeat this exercise for the Albuterol Sulfate J-code claims. Once

again, the revised dispensing fee would increase expenditures by approximately $347 million

($25 multiplied by the 13.873 million Albuterol Sulfate claims). But the total value of

DIFFERENCE using 106 percent of Dey’s average sales price would increase from $2.251

million to $1.056 billion, as shown in Table B. This would once again much more than offset the

effect of the increase in dispensing fees, and Dey’s share of this total DIFFERENCE based on its

market share of Albuterol Sulfate Medicaid claims would be $158 million.14 Adding this to the

$638 million calculated above, Dey’s total DIFFERENCE of $796 million (which incorporates

12
   As shown in Table A, Dey’s share of the $1.510 billion is $816 million. Its share of the $321 million is $174
million given its 54.1 percent share of all Ipratropium Bromide claims.
13
   In these latter two cases I use Dey’s share of all Dey and Roxane claims rather than its overall share of all
Ipratropium Bromide claims. When allocating responsibility in my original report, I applied Dey and Roxane’s
relative market shares because the total DIFFERENCE was a function of the inflated AWPs of only Dey and
Roxane, to the exclusion of their competitors. However, when allocating responsibility under a methodology that
considers the impact of all market participants, it is appropriate to apply Dey’s share of the entire market, since all
market participants share responsibility.
14
   As shown in Table B, Dey’s share of the $1.056 billion is $248 million. Its share of the $347 million is $90
million given its 25.8 percent market share of Albuterol Sulfate claims.


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the rise in dispensing fees) would be greater than any of the values that I calculate in the

February 6, 2009 supplement to my report.

           To sum up, if one applies Dr. Bradford’s methodology by increasing the Medicare share

of the dispensing fee by $25 per claim while reducing allowed amounts to 106 percent of the

average sales price, the total value of DIFFERENCE would increase substantially. Put simply,

the lower allowed amounts resulting from the 106 percent of the average sales price would more

than offset the effect of the increase in dispensing fees, leading to a greater impact on Medicare

spending. And this would of course also lead to substantially greater out-of-pocket expenditures

for Medicare recipients, who bear 20 percent of the cost of these claims.

           Despite the higher value of DIFFERENCE, for the same reasons that I outlined above

regarding Dr. Bradford’s application of the Massachusetts Medicaid algorithm to other states, it

is not appropriate to change the adjudication methodology that the government used. During the

time period considered, which includes through and including 2003Q4, the federal government

did not use 106 percent of the average sales price and the higher dispensing fee but instead used

the methodology that I utilize in my report.



Within State Extrapolation

           For my Medicaid analyses, I utilized claims data from state Medicaid agencies for 14

states. These 14 states account for 63 percent of all claims for Dey’s Complaint products.15 The

reason that these states account for such a large share of claims is that I utilized state claims data

for the states with the largest number of claims, including California, Florida, and New York, but

did not analyze the states with the smallest number of claims, such as Vermont, Wyoming, and

the District of Columbia.
15
     As discussed in my report, I excluded Arizona, Ohio, and Texas from the analysis.


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         In certain periods for each of these 14 states, I did not have complete state claims data,

and thus utilized either SMRF/MAX/MSIS claims data from CMS or aggregate SDUD data from

CMS. More specifically, for 82.1 percent of the 10.78 million claims for these 14 states I used

state Medicaid claims data, while I used SMRF/MAX/MSIS claims data for 8.9 percent, and

aggregate SDUD data for an additional 9.0 percent. The advantage of using each state’s own

claims data when extrapolating to those NDC-quarters when I do not have state claims data is

that these NDC-quarters will typically share the same adjudication methodology and provider

characteristics as in the NDC-quarters for which I do have state claims data. This is depicted

graphically in Figure A, with the corresponding expenditure shares in Figure B.16

         Dr. Bradford criticizes my analyses for these 14 states when I do not utilize state claims

data as being unreliable. As I make clear in my report, my algorithm during those periods when I

do not have state claims data is quite conservative, as I adjust if the spread between actual and

reported prices is lower (thus reducing the DIFFERENCE) but do not adjust if the spread

between actual and reported prices is higher. For example, suppose that the ratio of

DIFFERENCE to Medicaid spending is 0.5 for an NDC-quarter in 1995Q1 and that this is the

first quarter for which I have claims data. If the spread between the AWP and the actual average

price is lower in 1994Q4 then I adjust this 0.5 ratio down accordingly. However, if the spread is

higher, which would generally imply a ratio higher than 0.5, I do not scale this upward.

         Nevertheless, to probe on the validity of Dr. Bradford’s criticism, I took the following

approach. For each state I pretended that the state Medicaid claims data started one year later and

terminated one year earlier than they actually did. I then utilized the SMRF/MAX/MSIS claims

data if it was available and otherwise used the SDUD data to estimate the total value of


16
  The red area in the middle of the bars represents the amount of all claims or expenditures in each year that use a
within-state extrapolation.


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DIFFERENCE during these one-year periods. My findings indicate that the total value of

DIFFERENCE across these 14 states is actually substantially higher when I use the state claims

data then when I utilize these alternative sources of data.17 It therefore appears that, if anything,

the fact that I do not have complete Medicaid claims data for all 14 of these states serves to

reduce rather than to increase the total value of DIFFERENCE.



Across State Extrapolation

         Dr. Bradford criticizes my use of data for just 14 of the 48 states considered and the

methodology that I use to estimate the total value of DIFFERENCE in the remaining 34 states.

As mentioned above, these states account for a disproportionate share of all Medicaid claims for

Complaint products (63 percent), as they include the large states such as New York and

California while excluding states with relatively few claims such as Wyoming and Vermont.

Additionally, my coverage with state claims data is most complete during those years with the

highest number of Medicaid claims and Medicaid expenditures. This is depicted graphically in

Figures A and B for Medicaid claims and expenditures, respectively.18

         In considering the validity of the extrapolation, it is worth noting that the two groups of

states share many common features. All of the states reimburse for the same Dey Complaint

drugs, and all of the states are subject to the same federal regulations. All of the states use

published prices when adjudicating claims and the vast majority of the states use the AWP. The

fraction of states in the two groups that use the WAC is similar and the scaling factors for these

prices are on average similar between the two groups. All of the states in the two groups have a



17
   If I pretend that the state claims data starts one year later and finishes one year sooner for each state, the total
value of the federal DIFFERENCE for these 14 states falls from $100.793 million to $96.484 million.
18
   The beige bars at the top represent the amount of claims or expenditures in the year for the 34 states.


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“lower of” methodology except for New York, and all of them use the federal upper limit (FUL)

prices that are published by the U.S. Department of Health and Human Services.

       It is also important to remember that often in applied microeconomic research there is no

data for those entities to which the extrapolation is being performed. However, in this setting I

am utilizing multiple sources of detailed information regarding Medicaid claims for the

Complaint products for those states to which I am extrapolating. Additionally, I do not

extrapolate to any state or time period in which I do not have CMS claims data or SDUD data.

       Furthermore, it is indeed common practice in applied microeconomic research to use data

for a subset of the entire population when estimating the effect for the full population. For

example, the seminal research on the effect of the unemployment insurance (UI) program,

including work by Bruce Meyer that was published in Econometrica in 1990, utilized

administrative UI data for just 12 states to estimate the effect of the UI program on trends in the

national labor market. Additionally, research by Adams, Gruber, and Newhouse published in the

Journal of Human Resources in 1997 examined the effect of physician fee changes in Tennessee

while using Georgia as a control to shed light on the effect of Medicaid physician reimbursement

on the treatment of Medicaid recipients. Additionally, it is common practice in applied

microeconomic research to use data for a sample that may not be fully representative to estimate

results for the U.S. as a whole. For example, recent work published by Jon Gruber and David

Rodriguez in the Journal of Health Economics in 2007 utilizes data for a subset of physicians to

estimate the amount of uncompensated care that physicians in the U.S. provide.

       When considering the algorithm that I use in my analysis, it is important to emphasize

that I use data for up to 14 states for more than one thousand NDC-quarter combinations when

estimating the value of DIFFERENCE for these same NDC-quarter combinations in each of the




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remaining states. My examination of the adjudication algorithms used by these states, their

reimbursement per claim, and so forth indicates that they are indeed very similar to the 34 states.

Indeed, the most striking disparity is that the state of New York had an adjudication algorithm

that led to a much lower value of DIFFERENCE because it used the FUL regardless of the

product’s AWP. This will tend to pull down the per-claim value of DIFFERENCE for the 14

states that I consider and thus lead to a conservative estimate for the remaining 34.

         It is worth noting that the 14 are not a random sample of the initial 48, but this is because

I focused attention on the largest states to obtain the maximum amount of precision. Put simply,

it is more important to the total value of DIFFERENCE to be as accurate as possible for the state

of New York, with more than $64 million in Medicaid spending on Complaint products, than it is

in the state of Vermont, which spent less than $1 million on these same products.

         Nevertheless, it is instructive to consider how the total value of DIFFERENCE might

have changed if I had utilized claims data for each of the remaining 34 states. To do this, I

repeated the algorithm that I used for New York, California, and the other states for Wisconsin

and South Carolina, two states with relatively high spending for which I did have state claims

data. In the case of Wisconsin, my findings indicate that the federal share of DIFFERENCE is

$2.92 million, versus the $2.57 million estimated in my initial report. Similarly, for the state of

South Carolina, my results indicate a total federal DIFFERENCE of $2.35 million, versus the

$2.34 million in my initial report. These results provide strong support for the methodology that I

used to estimate the total value of DIFFERENCE in the remaining 34 states.19




19
   These values differ from those reported by Dr. Bradford in his report because, in contrast to my analyses, he drops
those claims on which the provider charged amount is paid and drops claims and SDUD data outside of the period
with state claims data. He is therefore considering fewer claims and thus it is not surprising that his DIFFERENCE
is lower than the one that I calculate.


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Medicare DMERC-Quarter Combinations with a Missing Array

       Dr. Bradford (in paragraph 308) also criticizes my analyses for Medicare because I do not

have arrays for certain DMERC-quarter combinations, and thus interpolate the array from the

ones in the quarters immediately before and after that quarter to estimate the array that was in

effect. Specifically, I do not have array information for 9 of the 120 (7.5 percent) DMERC-year-

quarter combinations that I consider for Ipratropium Bromide and for 17 of the 135 DMERC-

year-quarter combinations for Albuterol Sulfate. An examination of the arrays reveals that this is

appropriate because the arrays are quite stable over time, with every one of the arrays that I

observe having at least two Dey products. Thus there is no basis for omitting damage

calculations from those DMERC-quarter combinations in which no array is present because the

available evidence indicates that Dey is always in the array.

       In every case when I am missing an array, I take the conservative approach of using the

adjacent array that would result in the lower value of DIFFERENCE. The most common

approach in applied microeconomic research – to linearly interpolate when missing data for a

certain time period – would lead to higher values of DIFFERENCE and thus to results that would

be less favorable for Dey. And an examination of the 8 gaps in the arrays indicates that the

before and after arrays are the same in 3 cases and are very similar in the other 5 cases.

Additionally, if I compare the allowed amount that I use in these 8 cases with the corresponding

allowed amounts for the other DMERCs, it is generally higher which implies a lower value of

DIFFERENCE. Put simply, my algorithm for those DMERC-quarter combinations in which I am

missing an array is conservative and will lead to a total value of DIFFERENCE that is lower than

would result if I had the arrays in every DMERC-quarter.




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Average versus 95th Percentile Prices

           On page 123 of his report, Dr. Bradford also criticizes my use of Dey’s average prices,

and instead proposes the use of 95th percentile prices. In considering this issue, it is important to

note that virtually all state Medicaid programs and the federal Medicare program use average

price information. When the Medicare program switched to an ASP-based methodology in 2005,

it continued to rely on average price information. Notably, when CMS issued regulations

implementing the ASP methodology, it commented that “it is true for all payment systems based

on averages that the payment amount may not equal a specific provider’s cost for every

service.”20 Furthermore, the alternative AWPs that I calculate are equal to 125 percent of Dey’s

actual average NDC-quarter-specific prices to pharmacies for Complaint products. As I

demonstrate in Table 13B of my January 23, 2009 report that summarizes my Medicaid analyses

for the state of New York, 125 percent of the average price leads to a lower value of

DIFFERENCE than results when I instead utilize the 95th percentile price. Put simply, this scaled

average price tends to exceed the 95th percentile price and is therefore more favorable to Dey.



Revisions to Calculations for the no-NovaPlus Scenario

           In my original report, I removed the Roxane NovaPlus products from the generic portion

of the DMERC-A arrays. I have determined that it is more appropriate to leave Roxane’s

NovaPlus products in the generic portion of the Medicare DMERC-A arrays and leave their

prices unchanged in the no-NovaPlus combined scenario for Ipratropium Bromide. As a result of

this, the combined value of DIFFERENCE declines from $1.103 billion to $1.093 billion. Dey’s

share of this DIFFERENCE, using its relative market share, falls as a result from $790 million to

$782 million. This revision is summarized in the attached Tables 35rev and 38B-rev.
20
     70 Fed Reg 70116, 70218 (November 21, 2005).


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                                                     Figure A: Data Source by Year by Medicaid Claims

                       2,000,000


                       1,800,000


                       1,600,000


                       1,400,000
Claims/Prescriptions




                       1,200,000

                                                                                                                          Interstate
                       1,000,000                                                                                          Intrastate
                                                                                                                          State Claims

                        800,000


                        600,000


                        400,000


                        200,000


                              0
                                   1992 1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008
                                                                           Year
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                                                            Figure B: Data Source by Year by Medicaid Spending

                               $80,000,000



                               $70,000,000



                               $60,000,000
Medicaid Reimbursement in $$




                               $50,000,000


                                                                                                                                    Interstate
                               $40,000,000                                                                                          Intrastate
                                                                                                                                    State Claims

                               $30,000,000



                               $20,000,000



                               $10,000,000



                                       $0
                                             1992 1993 1994 1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006 2007 2008
                                                                                     Year
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                                              Table A: Dey Ipratropium Bromide: DIFFERENCE by DMERC and YrQuart
                                               Total Difference                                                                     Dey Share of Difference
     YrQuart         AdminaStar           CIGNA            DMERC-A             Palmetto        Dey Mkt Share     AdminaStar         CIGNA          DMERC-A        Palmetto
     19951              $79,110              $0                $0                  $0                0.0%             $0              $0              $0             $0
     19952                $0                 $0                $0                  $0                0.0%             $0              $0              $0             $0
     19953                $0                 $0                $0                  $0                0.0%             $0              $0              $0             $0
     19954                $0                 $0                $0                  $0                0.0%             $0              $0              $0             $0
     19961                $0                 $0                $0                $124                0.0%             $0              $0              $0             $0
     19962                $0                 $0                $0               $1,047               0.0%             $0              $0              $0             $0
     19963                $0                 $1                $0                 $41                0.0%             $0              $0              $0             $0
     19964                $0                 $1                $0                  $8               0.0%              $0              $0              $0             $0
     19971                $0                 $1                $0                  $0               1.3%              $0              $0              $0             $0
     19972            $1,988,752         $1,995,001        $1,186,828              $0               15.2%          $301,562        $302,510        $179,963          $0
     19973            $2,473,686         $2,476,049        $1,428,516         $6,252,373            23.2%          $574,040        $574,589        $331,500      $1,450,917
     19974            $2,661,877         $2,793,913        $1,555,635         $7,105,177            31.6%          $840,229        $881,906        $491,040      $2,242,769
     19981             $220,723           $512,284         $1,649,617         $8,864,897            37.5%           $82,817        $192,213        $618,949      $3,326,176
     19982             $354,121           $866,939         $1,900,109        $10,392,652            43.1%          $152,514        $373,377        $818,348      $4,475,956
     19983            $4,047,112         $4,228,397        $2,119,649        $12,045,139            45.9%         $1,856,429      $1,939,585       $972,293      $5,525,160
     19984            $4,173,237         $4,584,749        $2,338,419        $11,864,903            50.9%         $2,125,382      $2,334,961      $1,190,930     $6,042,661
     19991            $4,460,185         $4,621,340        $2,482,564        $12,632,754            55.0%         $2,454,365      $2,543,045      $1,366,113     $6,951,592
     19992            $4,869,389         $4,592,913        $2,496,072        $13,214,810            60.2%         $2,929,283      $2,762,963      $1,501,564     $7,949,647
     19993            $5,096,909         $4,556,481        $2,416,120        $15,114,876            63.4%         $3,231,166      $2,888,564      $1,531,690     $9,582,020
     19994            $5,395,822         $6,050,546        $3,116,304        $17,935,772            66.9%         $3,608,644      $4,046,514      $2,084,137    $11,995,173
     20001            $5,640,358         $6,511,581        $3,609,683        $20,054,522            69.2%         $3,903,436      $4,506,369      $2,498,097    $13,878,824
     20002            $8,727,978         $8,513,464        $4,899,933        $23,047,856            70.2%         $6,126,372      $5,975,800      $3,439,377    $16,177,830
     20003            $9,386,208         $8,684,168        $5,070,216        $23,958,308            69.4%         $6,511,736      $6,024,692      $3,517,492    $16,621,214
     20004           $10,631,534         $9,696,561        $5,432,990        $28,401,070            62.9%         $6,691,588      $6,103,107      $3,419,575    $17,875,902
     20011           $11,672,168        $10,017,447        $6,254,167        $33,009,464            59.7%         $6,968,581      $5,980,671      $3,733,897    $19,707,490
     20012           $13,664,083        $11,934,334        $7,229,912        $36,387,652            57.0%         $7,793,961      $6,807,316      $4,123,924    $20,755,431
     20013           $14,426,649        $12,405,929        $7,682,866        $38,549,276            55.5%         $8,013,114      $6,890,729      $4,267,358    $21,411,746
     20014           $12,881,913        $10,942,132        $6,768,388        $34,188,088            54.4%         $7,003,926      $5,949,263      $3,679,988    $18,588,143
     20021           $13,258,610        $14,283,848        $8,767,096        $45,093,060            53.2%         $7,046,968      $7,591,883      $4,659,722    $23,967,017
     20022           $18,861,964        $15,900,901       $10,055,872        $49,037,856            52.0%         $9,817,011      $8,275,878      $5,233,739    $25,522,536
     20023           $19,889,436        $16,843,900       $10,602,920        $51,935,576            50.3%        $10,005,349      $8,473,297      $5,333,782    $26,126,108
     20024           $20,689,248        $17,281,954       $11,085,417        $55,236,356            48.8%        $10,092,314      $8,430,219      $5,407,519    $26,944,557
     20031           $19,921,720        $16,666,387       $10,549,307        $53,178,204            48.4%         $9,635,879      $8,061,316      $5,102,564    $25,721,611
     20032           $24,058,268        $20,434,362       $12,541,568        $61,013,520            46.4%        $11,171,572      $9,488,793      $5,823,737    $28,331,919
     20033           $25,535,792        $21,433,326       $13,298,797        $61,989,604            50.4%        $12,859,435     $10,793,496      $6,697,071    $31,217,018
     20034           $27,082,120        $22,766,732       $14,050,910        $64,769,928            59.0%        $15,969,369     $13,424,737      $8,285,325    $38,192,536
      Total         $292,148,972       $261,595,638       $160,589,870      $795,274,913               -         $157,767,041    $141,617,792     $86,309,695   $430,581,952
The value for Other SDUD Utilization in 20004 has been linearly interpolated due to l kely error in SDUD data.
                                                                                        Dey Total                        $816,276,480
                                                                                    Total Difference                    $1,509,609,393
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                                       Table B: Dey Albuterol: DIFFERENCE by DMERC and YrQuart
                               Total Difference                                                         Dey Share of Difference
YrQuart   AdminaStar       CIGNA           DMERC-A        Palmetto     Dey Mkt Share   AdminaStar       CIGNA         DMERC-A         Palmetto
19941         $0           $12,875             $0           $0               29.8%         $0            $3,830           $0             $0
19942         $0           $16,982             $0           $0               28.9%         $0            $4,906           $0             $0
19943         $0         $2,414,177            $0           $0               27.5%         $0           $664,680          $0             $0
19944         $0         $3,389,074            $0           $0               27.3%         $0           $924,620          $0             $0
19951         $0         $3,104,839            $0           $0               31.8%         $0           $985,905          $0             $0
19952         $0         $3,983,998            $0           $0               34.4%         $0          $1,372,374         $0             $0
19953         $0         $4,183,730            $0           $0               34.8%         $0          $1,453,876         $0             $0
19954         $0         $4,139,075            $0           $0               32.7%         $0          $1,352,907         $0             $0
19961         $0         $3,615,279            $0       $11,522,776          33.0%         $0          $1,193,608         $0         $3,804,320
19962     $4,198,004     $3,371,962            $0       $13,143,492          32.9%     $1,383,109      $1,110,954         $0         $4,330,364
19963         $0         $4,197,129            $0       $13,094,093          33.7%         $0          $1,413,881         $0         $4,410,990
19964         $0         $4,349,810            $0       $13,473,855          31.8%         $0          $1,381,186         $0         $4,278,325
19971      $130,054      $3,843,903            $0           $0               32.7%      $42,496        $1,256,027         $0             $0
19972     $5,009,598     $4,615,202            $0           $0               34.6%     $1,731,198      $1,594,904         $0             $0
19973     $5,243,633     $4,791,810            $0       $16,240,102          35.7%     $1,870,618      $1,709,434         $0         $5,793,509
19974     $5,139,692     $4,909,080            $0       $17,181,780          29.9%     $1,535,283      $1,466,397         $0         $5,132,390
19981      $257,083       $322,856             $0       $15,131,737          29.9%      $76,802         $96,451           $0         $4,520,523
19982      $306,803       $424,934             $0       $17,530,796          29.6%      $90,848         $125,827          $0         $5,191,055
19983     $5,304,315     $4,825,388            $0       $17,446,674          30.0%     $1,592,399      $1,448,621         $0         $5,237,635
19984     $5,401,680     $4,828,914            $0       $17,312,740          28.8%     $1,554,560      $1,389,722         $0         $4,982,467
19991     $4,920,325     $4,307,152            $0       $16,111,224          29.9%     $1,471,133      $1,287,800         $0         $4,817,113
19992     $5,405,359     $4,139,327            $0       $18,102,384          32.7%     $1,765,401      $1,351,913         $0         $5,912,276
19993     $5,446,801     $4,240,884            $0       $18,605,268          32.4%     $1,767,123      $1,375,884         $0         $6,036,168
19994     $6,435,491     $5,242,907        $3,412,171   $21,204,630          29.8%     $1,914,884      $1,560,030     $1,015,293     $6,309,449
20001     $6,087,660     $4,834,484        $3,339,858   $20,090,236          28.0%     $1,703,800      $1,353,064      $934,752      $5,622,808
20002     $7,757,441     $5,806,813        $3,991,087   $24,823,684          28.9%     $2,243,582      $1,679,427     $1,154,289     $7,179,425
20003     $8,256,462     $5,941,685        $4,417,581   $25,316,246          27.5%     $2,271,711      $1,634,815     $1,215,468     $6,965,597
20004     $9,160,792     $6,232,662        $4,604,996   $26,567,436          25.1%     $2,303,354      $1,567,117     $1,157,862     $6,680,014
20011     $8,796,888     $5,834,678        $4,459,817   $25,370,818          24.2%     $2,128,154      $1,411,532     $1,078,924     $6,137,739
20012     $10,909,808    $7,183,612        $5,426,955   $29,395,284          25.2%     $2,747,508      $1,809,109     $1,366,715     $7,402,860
20013     $10,828,445    $7,229,169        $5,493,715   $3,266,993           25.6%     $2,775,369      $1,852,861     $1,408,059      $837,342
20014     $10,808,172    $7,823,233        $5,617,325   $3,527,117           21.7%     $2,341,882      $1,695,114     $1,217,145      $764,245
20021     $10,381,844    $7,276,686        $5,301,679   $29,919,958          11.5%     $1,195,904       $838,215       $610,710      $3,446,535
20022     $11,941,738    $8,390,299        $6,240,207   $35,901,092          25.1%     $2,999,183      $2,107,235     $1,567,236     $9,016,606
20023     $12,077,517    $8,453,132        $6,355,868   $36,620,524          21.0%     $2,534,594      $1,773,979     $1,333,846     $7,685,203
20024     $12,785,782    $8,667,881        $6,674,757   $38,295,640           6.8%      $868,951        $589,089       $453,632      $2,602,661
20031     $11,378,033    $7,651,547        $5,931,922       $0               18.9%     $2,155,164      $1,449,314     $1,123,592         $0
20032     $14,987,028    $9,806,930        $7,347,829       $0                7.4%     $1,114,698       $729,415       $546,513          $0
20033     $15,661,144    $9,972,525        $7,644,655       $0                2.6%      $406,527        $258,864       $198,438          $0
20034     $16,534,270    $10,611,251       $8,114,018       $0                7.6%     $1,263,081       $810,611       $619,843          $0
 Total    $231,551,857   $204,987,867     $94,374,436   $525,196,579             -     $47,849,317    $48,085,501     $17,002,318   $135,097,618
                                                                 Dey Total                    $248,034,753
                                                              Total Difference               $1,056,110,739
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                Table 35rev: Summary of Medicare DME Ipratropium Bromide Results

                                          A. Roxanne Only - With Novaplus

               Difference     Medicare Paid        Clms w/Diff>0      Total Claims     Prov Payments

 Palmetto    $609,636,482     $1,075,878,401         6,083,763            6,590,245       586,521
AdminaStar   $261,316,131      $391,394,534          2,503,143            2,536,711       260,044
  CIGNA      $207,072,869      $357,608,096          2,252,198            2,347,762       214,466
DMERC-A      $91,421,554       $214,339,752          1,335,160            1,361,541       137,793

   Total     $1,169,447,036   $2,039,220,783        12,174,264            12,836,259     1,198,824
Percentage               57.35%                                  94.84%


                                           B. Roxanne Only - No Novaplus

               Difference     Medicare Paid        Clms w/Diff>0      Total Claims     Prov Payments

 Palmetto    $132,307,976     $1,075,878,401         2,956,249            6,590,245       324,356
AdminaStar   $29,097,631       $391,394,534           571,389             2,536,711       86,598
  CIGNA       $42,956,873      $357,608,096           981,300             2,347,762       106,196
DMERC-A      $29,937,624       $214,339,752           570,656             1,361,541       68,906

   Total     $234,300,104    $2,039,220,783          5,079,594            12,836,259      586,056
Percentage              11.49%                                   39.57%


                                                   C. Dey Only

               Difference     Medicare Paid        Clms w/Diff>0      Total Claims     Prov Payments

 Palmetto    $128,832,369     $1,075,878,401         2,891,224            6,590,245       305,852
AdminaStar   $19,567,739       $391,394,534           472,716             2,536,711       70,405
  CIGNA       $35,043,368      $357,608,096           974,779             2,347,762       104,070
DMERC-A      $29,913,421       $214,339,752           570,672             1,361,541       68,909

   Total     $213,356,897    $2,039,220,783          4,909,391            12,836,259      549,236
Percentage              10.46%                                   38.25%


                                        D. Dey and Roxanne - With Novaplus

               Difference     Medicare Paid        Clms w/Diff>0      Total Claims     Prov Payments

 Palmetto    $741,161,688     $1,075,878,401         6,530,490            6,590,245       616,826
AdminaStar   $279,827,789      $391,394,534          2,510,238            2,536,711       262,403
  CIGNA      $246,526,381      $357,608,096          2,273,300            2,347,762       221,853
DMERC-A      $148,887,315      $214,339,752          1,344,218            1,361,541       140,834

   Total     $1,416,403,173   $2,039,220,783        12,658,246            12,836,259     1,241,916
Percentage               69.46%                                  98.61%


                                         E. Dey and Roxanne - No Novaplus

               Difference     Medicare Paid        Clms w/Diff>0      Total Claims     Prov Payments

 Palmetto    $584,002,597     $1,075,878,401         6,516,669            6,590,245       611,835
AdminaStar   $190,140,045      $391,394,534          2,298,945            2,536,711       242,015
  CIGNA      $200,039,184      $357,608,096          2,263,029            2,347,762       218,254
DMERC-A      $119,500,669      $214,339,752          1,341,333            1,361,541       139,606

   Total     $1,093,682,495   $2,039,220,783        12,419,976            12,836,259     1,211,710
Percentage               53.63%                                  96.76%
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                          Table 38B-rev: Dey/Roxane Combined, No NovaPlus: Diffs by DMERC and YrQuart
                                 Total Difference                                                         Roxane Share of Difference
YrQuart   AdminaStar         CIGNA          DMERC-A         Palmetto      Rox rel share   AdminaStar       CIGNA          DMERC-A        Palmetto
19951       $79,108            $0               $0            $0                0.0%          $0              $0              $0            $0
19961         $0               $0               $0           $124               0.0%          $0              $0              $0            $0
19962         $0               $0               $0          $1,045             100.0%         $0              $0              $0          $1,045
19963         $0               $0               $0            $41              100.0%         $0              $0              $0           $41
19964         $0               $0               $0        $1,402,037           100.0%         $0              $0              $0        $1,402,037
19971         $0               $0               $0        $1,858,709           98.0%          $0              $0              $0        $1,822,193
19972     $1,898,496       $1,903,721       $1,133,594        $0               80.7%      $1,532,981      $1,537,200       $915,345         $0
19973     $2,315,717       $2,316,293       $1,209,763    $5,854,096           72.6%      $1,681,042      $1,681,460       $878,199     $4,249,647
19974     $2,490,804       $2,650,759       $1,332,916    $6,640,712           64.2%      $1,598,856      $1,701,531       $855,603     $4,262,696
19981      $174,611         $408,424        $1,421,551    $7,645,394           58.8%       $102,729        $240,289        $836,345     $4,498,037
19982      $282,080         $709,642        $1,649,817    $9,042,595           53.8%       $151,694        $381,623        $887,220     $4,862,828
19983     $3,398,839       $3,526,310       $1,806,756    $10,140,264          51.4%      $1,748,130      $1,813,692       $929,272     $5,215,457
19984     $3,841,420       $3,987,694       $2,055,521    $11,112,622          46.8%      $1,797,039      $1,865,467       $961,585     $5,198,551
19991     $4,056,716       $4,120,050       $2,232,750    $11,846,519          43.0%      $1,745,209      $1,772,456       $960,535     $5,096,402
19992     $4,510,971       $4,255,213       $2,323,837    $12,391,550          38.1%      $1,718,303      $1,620,881       $885,188     $4,720,147
19993     $5,219,941       $4,669,854       $2,478,162    $15,489,749          34.9%      $1,822,345      $1,630,303       $865,157     $5,407,661
19994     $5,534,031       $6,205,072       $3,195,133    $18,372,164          31.5%      $1,740,945      $1,952,047      $1,005,153    $5,779,680
20001     $5,783,608       $6,445,448       $3,574,239    $19,855,934          29.4%      $1,697,914      $1,892,213      $1,049,302    $5,829,177
20002     $7,995,928       $7,803,993       $4,497,863    $21,256,858          28.0%      $2,239,081      $2,185,334      $1,259,526    $5,952,508
20003     $6,707,183       $8,449,123       $4,935,459    $23,322,684          28.2%      $1,892,926      $2,384,544      $1,392,904    $6,582,216
20004     $7,270,027       $9,527,198       $5,288,193    $27,135,822          28.9%      $2,097,554      $2,748,795      $1,525,754    $7,829,250
20011     $7,519,841       $8,637,414       $5,901,864    $28,493,044          27.1%      $2,039,063      $2,342,102      $1,600,336    $7,726,110
20012     $8,743,262       $10,348,779      $6,274,919    $31,589,730          27.0%      $2,364,810      $2,799,058      $1,697,192    $8,544,146
20013     $9,235,948       $10,815,116      $6,704,073    $33,645,772          26.0%      $2,400,121      $2,810,495      $1,742,169    $8,743,435
20014     $9,880,166       $10,310,303      $5,544,012    $32,228,860          23.6%      $2,333,522      $2,435,113      $1,309,399    $7,611,893
20021     $9,568,797       $10,284,037      $5,498,875    $32,596,950          23.6%      $2,257,939      $2,426,713      $1,297,564    $7,691,867
20022     $11,195,608      $11,665,945      $6,421,182    $36,110,944          22.1%      $2,474,276      $2,578,223      $1,419,108    $7,980,670
20023     $13,847,179      $12,217,928      $6,695,414    $37,821,656          23.5%      $3,253,674      $2,870,849      $1,573,223    $8,886,962
20024     $14,670,840      $12,782,199      $7,132,497    $40,216,628          24.4%      $3,585,851      $3,124,229      $1,743,327    $9,829,761
20031     $13,725,362      $11,913,023      $6,561,198    $38,145,224          24.4%      $3,351,582      $2,909,029      $1,602,172    $9,314,644
20032     $15,942,774      $10,832,216      $7,505,046    $16,137,305          23.7%      $3,775,570      $2,565,287      $1,777,346    $3,821,639
20033         $48          $11,262,167      $7,837,128    $19,396,134          20.7%         $10          $2,332,841      $1,623,379    $4,017,707
20034     $14,250,744      $11,991,266      $8,288,913    $34,251,432          14.2%      $2,025,805      $1,704,610      $1,178,305    $4,868,988
 Total    $190,140,046     $200,039,185    $119,500,669   $584,002,598             -      $53,428,974    $56,306,384     $33,770,607   $167,747,396
                                                                 Roxane Total                    $311,253,362
                                                                   Dey Total                     $782,349,904
                                                                Total Difference                $1,093,682,499
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                   Attachment B
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 Attachments C through E are omitted
        They may be found with the declaration originally filed as
       Exhibit 4 to the Memorandum of United States in Support
   of Motion to Exclude Certain Testimony of W. David Bradford, Ph.D
               (Master Doc. #6914-9, Subcategory #693-9)
